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                                                         January 13, 2023

VIA ECF
The Honorable John G. Koeltl
United States District Judge
United States District Court – S.D.N.Y.
500 Pearl Street
New York, New York 10007
          Re:       City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
                    No. 1:15-cv-05345 (JGK) (KHP)

Dear Judge Koeltl:

         We represent Triadou SPV S.A. (“Triadou”) in the above-captioned matter and write on
behalf of Triadou and Plaintiff BTA Bank JSC (“BTA”) as instructed by the Court at the close of
trial regarding a proposed briefing schedule for post-trial motions.

        The parties respectfully propose the following briefing schedule that will cover any post-
trial motions Triadou may file and BTA’s submissions concerning its remaining claims:

                •   Opening Briefs: March 2, 2023

                •   Opposition Briefs: April 4, 2023

                •   Reply Briefs: May 5, 2023

          Thank you for your consideration.
                                                         Respectfully submitted,

                                                          /s/ Deborah A. Skakel
                                                         Deborah A. Skakel
